





















Opinion issued April 5, 2012.



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-00960-CV

———————————

IEISHA MASS, Appellant

V.

WELLS FARGO
BANK, N.A., AS trustee for option one mortgage loan trust 2005-4 asset-backed certificates,
series 2005-4,
Appellee



&nbsp;



&nbsp;

On
Appeal from County Civil Court at Law No. 1

Harris
County, Texas



Trial
Court Cause No. 100088

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Ieisha Mass, has
neither established indigence nor paid all the required fees.&nbsp; See Tex.
R. App. P. 5 (requiring payment of fees in civil cases unless indigent),
20.1 (listing requirements for establishing indigence); see also Tex. Gov’t Code Ann. § 51.207 (Vernon
Supp. 2011), § 51.941(a) (Vernon 2005), § 101.041 (Vernon Supp. 2011) (listing fees in court of appeals);
Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts
of Appeals and Before the Judicial Panel on Multidistrict Litigation, Misc.
Docket No. 07-9138 (Tex. Aug. 28, 2007), reprinted
in Tex. R. App. P. app. A §
B(1) (listing fees in court of appeals).&nbsp;
After being notified that this appeal was subject to dismissal,
appellant did not adequately respond.&nbsp; See
Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss the appeal for nonpayment
of all required fees.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We dismiss any pending motions as
moot.

PER CURIAM

Panel
consists of Justices Keyes, Bland, and Sharp.

&nbsp;





